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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
           v.                                  :         Crim. No. 19-538
                                               :
JAMHEAR HOPPER                                 :

                                               ORDER

       AND NOW, this 20th day of October, 2020, upon consideration of the evidence presented

at the August 31, 2020 suppression hearing, Defendant’s Motion to Suppress In-Court and Out-

of-Court Identifications (Doc. No.’s 34, 46), the Parties’ Proposed Findings of Fact and

Conclusions of Law (Doc. No.’s 46, 47), and all related submissions (Doc. No. 36) it is

ORDERED that Defendant’s Motion to Suppress (Doc. No.’s 34, 46) is GRANTED. Mr. Boozer

may not identify Defendant at trial, nor may the Government introduce into evidence any of Mr.

Boozer’s prior identifications of Defendant.

                                                                 AND IT IS SO ORDERED:

                                                                         /s/ Paul S. Diamond
                                                                     ____________________
                                                                          Paul S. Diamond, J.
